Case 3:51-cv-01247-JO-SBC Document 1-3 Filed 01/25/51 PagelD.206 Page1of1

TABLE NUMBER TEN (LO) :
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No Sewage Flow Records Available. Septic Tanks Utilized & No Meters.

* Estimated discharges at plant

Discharge figures contained in this table are taken from

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: ** No measurable flow at plant records of the Public Works Office, Camp Pendleton ;
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2 No estimate © ows Wo meters installed) _ States Naval Ammuniton Depot, Fallbrook: and the

sae Plant inactive Public Works Office - lith Naval District Headquarters,
saan No records available San Diego, California.

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Office of Ground Water Resources
° Camp Joseph H. Pendleton (2-20-5I

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